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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                       Case No. 06-20663

D-10, DEXTER HUSSEY,                                     HONORABLE AVERN COHN

     Defendant .
___________________________________/


                            ORDER APPOINTING COUNSEL

       This is a criminal case. As described in the Memorandum (Doc. 585) of October 22,

2009, the Court allowed William R. Ford to withdraw as counsel for defendant, and

appointed him as standby counsel to defendant who was then representing himself. As a

consequence of defendant’s conduct at the opening of trial on November 30, 2009, the

Court entered an Order Requiring a Mental Examination and Report (Doc. 617). While

defendant may be found competent to stand trial, there is the possibility that defendant will

be unable to represent himself.

       Accordingly, the Court appoints William R. Ford as counsel for defendant. Mr. Ford

should be prepared to represent defendant at trial as his counsel if the Court determines

such is necessary. In the interim he shall represent defendant in such pretrial matters as

may arise. This appointment is made nunc pro tunc October 22, 2009, and is further

memorialized in Form CJA 20, Appointment of Counsel.

       SO ORDERED.


Dated: December 2, 2009                    s/ Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE
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                                                     06-20663-10 USA v. Dexter Hussey
                                                            Order Appointing Counsel


                              CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was mailed to the attorneys of record
and Dexter Hussey, 4107 19th Street, Ecorse, MI 48229 on this date, December 2, 2009,
by electronic and/or ordinary mail.


                                           s/ Julie Owens
                                          Case Manager, (313) 234-5160




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